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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


        UNITED STATES, et al.,             )
                                           )
                    Plaintiffs,            )
              v.                           )     No. 1:23-cv-00108-LMB-JFA
                                           )
        GOOGLE LLC,                        )
                                           )
                    Defendant.             )




    PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION TO EXCLUDE OPINIONS
        OF ITAMAR SIMONSON AND RELATED OPINIONS OF MARK ISRAEL
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                                          INTRODUCTION

          Professor Simonson’s opinions about the three advertiser surveys he conducted are

   unreliable and inadmissible because he asked an unrepresentative sample of advertisers and

   advertising agencies about switching between the wrong products. Dr. Israel’s opinions

   leveraging these fundamentally flawed surveys are likewise inadmissible. At the direction of

   Google’s counsel, Prof. Simonson excluded the largest advertisers as well as all six major ad

   agencies from his survey samples. This unusual decision created an unrepresentative sample of

   the very purchasers Prof. Simonson sought to survey, ostensibly to understand the magnitude and

   nature of shifts in advertising spend by these advertisers. Thus, although Prof. Simonson

   attempted to study the correct universe (advertisers and ad agencies), his sample was fatally

   flawed. Google confuses these two concepts (universe and sample) and tries to defend the

   reliability of Prof Simonson’s samples by incorrectly focusing on its numerical size rather than

   their representativeness of the universe he tried to study. Regardless of how many participants

   were in the studies, Prof. Simonson’s failure to ensure those participants were representative of

   the intended universe renders his survey results unreliable and inadmissible under Rule 702(b).

          Google contends that Prof. Simonson had no choice but to exclude large swaths of the

   surveys’ intended population due to ethical rules that restrict Google’s lawyers, but any such

   limitation cannot excuse Prof. Simonson’s flawed and unreliable sampling methodology or

   rescue his survey results from exclusion under Rule 702. If Google’s lawyers’ ethical obligations

   precluded Prof. Simonson from using reliable methods to conduct an appropriately representative

   survey, Google could have sought relief from the Court, or Prof. Simonson could have decided

   not to conduct a survey at all. What Google cannot do is use attorney ethics rules as a basis to

   skew the survey sample (and thus the survey results) in ways that make them unreliable.

          The flaws in Prof. Simonson’s survey design did not end there. At counsel’s direction,


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   Prof. Simonson waited until the end to disclose to respondents that Google was sponsoring the

   survey for use in pending antitrust litigation, which resulted in as many as one-quarter of

   respondents opting-out of submitting answers they had already entered. This disclosure and opt-

   out procedure—implemented here for the first time ever in Prof. Simonson’s decades-long

   career—similarly biased the sample and survey results, insofar as it, among other things,

   signaled a preference for pro-Google responses among the respondents. The opt-out procedure

   biased the survey sample even further, rendering the survey results unreliable under Rule 702(c).

          Finally, rather than asking advertisers about the ad tech tools they used to buy and sell

   advertising—the actual products at issue in this case—Prof. Simonson asked advertisers about

   their preferences for different advertising formats. This decision to ask respondents about

   switching between advertising formats, not switching between ad tech tools, makes Prof.

   Simonson’s critical Diversion Question1 irrelevant. Even Google concedes that Prof. Simonson’s

   survey was not asking about customer switching for “the particular products at issue,” i.e., ad

   tech tools used to buy and sell open-web display advertising. Google admission is dispositive.

   Surveys that do not actually address the facts at issue here should be excluded under Rule 702(a).

                                             ARGUMENT

       A. Prof. Simonson’s Opinions Are Unreliable Because His Samples Are Biased
          Prof. Simonson’s advertiser survey samples are fatally flawed under Rule 702(b) because

   (1) they excluded companies that account for a significant portion of the target population and

   (2) respondents could opt-out upon learning that Google sponsored the surveys for use in

   defending against a monopolization lawsuit. The compounding impact of these decisions renders


   1
    The Diversion Question asked survey respondents whether they would “divert some of [their]
   advertising spending for the coming year to other types of digital advertising” if “the cost of
   programmatic display advertising has recently increased by a small but significant amount, and
   will remain elevated for the foreseeable future.” Opening Br. at 7, ECF No. 613.

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   Prof. Simonson’s samples so incomplete as to be uninformative of the universe of advertisers he

   sought to survey. Rule 702(b) prohibits scientific methods based on insufficient facts or data.

          Google suggests—without evidence—that those exclusions would not affect the outcome

   of the surveys, yet Prof. Simonson’s surveys provide no support for this sweeping conclusion.

   Google argues that Plaintiffs bear the burden of explaining why these excluded participants

   would have responded differently, but that is precisely backwards. As the proponent of the

   expert, Google must demonstrate why Prof. Simonson’s methods and results are reliable.

   Plaintiffs do not need to conduct their own survey to demonstrate bias under Rule 702.

              1. Google’s Exclusion of High Spend Advertisers and Ad Agencies Resulted in
                 Biased and Unrepresentative Survey Samples
          Google conflates the question of an appropriate survey “universe” with a reliable

   “sample” of that universe. Plaintiffs challenge the latter, not the former, with respect to Prof.

   Simonson’s surveys. “A universe is that segment of the population whose perceptions and state

   of mind are relevant to the issues in the case.” PBM Prods., LLC v. Mead Johnson & Co., 639

   F.3d 111, 123 (4th Cir. 2011) (cleaned up); Shari Seidman Diamond, Reference Guide on Survey

   Research, in Reference Manual on Scientific Evidence 359, 376 (Fed. Jud. Ctr. 3d ed. 2011)

   (“FJC Reference Guide”). “Identification of a survey population [universe] must be followed by

   selection of a sample that accurately represents that population.” FJC Reference Guide at 380;

   Menasha Corp. v. News Am. Mktg. In-Store, Inc., 238 F. Supp. 2d 1024, 1030 (N.D. Ill. 2003)

   (“[A] sample that accurately represents the target population must be selected, and procedures

   must be taken to reduce the likelihood of a biased sample.”) aff’d, 354 F.3d 661 (7th Cir. 2004).

          Google’s case law regarding the selection of the “wrong universe,” see Opp. at 12-13,

   ECF No. 641, is non-responsive to Plaintiffs’ challenge. See, e.g., PBM Prods., 639 F.3d at 124

   (holding that an expert “survey[ing] the wrong universe bears directly on the weight accorded to



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   the survey, not to its admissibility”); Harolds Stores, Inc. v. Dillard Dep’t Stores, Inc., 82 F.3d

   1533, 1544–45 (10th Cir. 1996) (“Technical and methodological deficiencies in the survey,

   including the sufficiency of the universe sampled, bear on the weight of the evidence, not the

   survey’s admissibility.”) (cleaned up)).2 And even those cases acknowledge Plaintiffs’ point that

   the survey sample must be “a sufficiently close approximation of the recipient pool to be

   admissible,” PBM Prods., 639 F.3d at 124, and that, “[t]he district court should exclude the

   survey when the sample is clearly not representative of the universe it is intended to reflect,”

   Harolds Stores, 82 F.3d at 1544; see also Valador, 242 F. Supp. at 461 (survey inadmissible as

   “under-inclusive” because it “did not cover the prime market for defendants’ product”).3

          Prof. Simonson’s exclusion of individuals who work for companies on the No Contact

   List4 also rendered his samples unrepresentative of his defined universe. Google does not dispute

   the extent of Prof. Simonson’s exclusions, including the six largest global ad agencies (“Big 6”),

   five of which accounted for two-thirds of Google’s ad agency revenue. See Opening Br. at 4-5.



   2
     This is not to suggest a black-and-white distinction between universe and sample issues or that
   a faulty universe cannot separately serve as a basis for exclusion. For example, in Valador, Inc.
   v. HTC Corp., 242 F. Supp. 3d 448, (E.D. Va. 2017), aff’d, 707 F. App’x 138 (4th Cir. 2017),
   which relies on PBM, supra, the court excluded the opinion of an expert who failed to survey
   even a “sufficiently close approximation” of the correct universe when he focused on customers
   irrelevant to the trademark confusion claim and excluded many of the subject product’s average
   purchasers. Valador, 242 F. Supp. 3d at 460–61 (quoting PBM Prods, 639 F.3d at 123).
   3
     Google also cites Belk, Inc. v. Meyer Corp., 679 F.3d 146 (4th Cir. 2012), but that case is
   distinguishable. There, the Fourth Circuit held that the defendant’s “laundry list of alleged
   technical deficiencies” with the plaintiff’s survey expert including the “exclusion of relevant
   consumers,” were appropriately addressed by the trier of fact. Id. at 163. Nothing in the Fourth
   Circuit’s opinion suggests that those customers constituted a distinct group (like the large, more
   sophisticated advertisers who are potential witnesses against the defendant here), such that their
   exclusion would have rendered the sample unrepresentative of the survey universe.
   4
     The No Contact List included individuals at “companies that are parties to, were identified on
   initial disclosures in, or have received subpoenas in connection with” this case, the related action
   brought by state regulators in Texas, and the MDL in New York. See Exhibit A, Expert Report of
   Itamar Simonson, Ph.D. (“Simonson Rep.”) ¶ 34, ECF No. 609-2.

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   Not all advertisers are created equal, especially here where a critical question in the case is the

   extent to which total spend on ad tech tools would shift in response to an increase in price or

   decrease in quality. Yet, Prof. Simonson ignored the views of Google’s largest and most

   important customers who represent a large portion of spend on these ad tech tools. Prof.

   Simonson pre-screened out of the survey samples respondents who worked for companies that

   are likely “on average, more sophisticated advertisers,” Ex. A, Simonson Rep. ¶ 34, and carried

   outsized weight for Google’s digital advertising business. Google’s own documents show that

   Prof. Simonson excluded top advertisers, like Walmart and Target, which Google considered to

   be top “[w]hales,” where “the majority of opportunity lies.” Exhibit G (GOOG-DOJ-03047055 at

   -062), ECF No. 609; Exhibit L, Crain Communications Inc., “Ad Age Leading National

   Advertisers 2023: 200 biggest advertisers,” June 26, 2023 (cited in Exhibit C, Expert Rebuttal

   Report of Wayne D. Hoyer, Ph.D. (“Hoyer Rep.”) ¶ 67 n.116, 117, ECF No. 609-4) (exclusions

   highlighted) (“Ad Age Top 200”). Google recognizes that these companies are different for

   another reason too: they are potential witnesses against Google in this and related cases.

          Google misdirects away from this problem by focusing instead on the raw number of

   companies excluded, approximately 150, relative to the raw number of potential individual

   respondents invited to take the surveys, 11,162.5 But this comparison misses the point by

   obfuscating the economic significance of the omitted companies. Having excluded such a

   material portion of the highest spending advertisers, Prof. Simonson’s survey failed to provide

   reliable insight into whether an advertising technology monopolist could profitably increase



   5
     Google’s claim that there were “millions of potential advertisers or ad agencies,” Opp. at 13-14,
   is without basis. Prof. Simonson testified that he thought the panel had only thousands of
   members. Exhibit M, Deposition of Itamar Simonson (“Simonson Tr.”), Feb. 28, 2024, at
   134:19-135:3. Prof. Simonson also has no idea how many potential individuals working for these
   150 companies were excluded. Ex. M, Simonson Tr. at 136:9-17.

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   prices or reduce quality without losing enough revenue from customers switching to another ad

   tech tool, an analysis informed by total advertising spend not total number of customers.

          Google’s assurance that Prof. Simonson “confirmed that his Higher-Spend Advertiser

   Survey included advertisers at the very high spend level (more than $15 million),” Opp. at 13,

   falls flat for the same reason, as the excluded firms spend exponentially more than $15 million

   on advertising annually—between $299 million and $13.5 billion. See Ex. L, Ad Age Top 200.

   By declining to recognize the economic significance of the 150 companies on the No Contact

   List, Google ignores what makes Prof. Simonson’s samples unrepresentative and unreliable.

          Google cannot salvage the samples by relying on Prof. Simonson’s speculation that

   excluding large, more sophisticated advertisers, likely would have rendered the results of his

   surveys more conservative. Opp. at 13-14. Prof. Simonson failed to examine whether No Contact

   List advertisers would have responded differently, and he has no data to analyze to ground such

   an assertion. See Exhibit N, Deposition of Wayne D. Hoyer (“Hoyer Tr.”), March 4, 2024. at

   281:5-15. The excluded companies were so significant to Google’s advertising business—nine of

   the top ten U.S. advertisers were omitted—that Prof. Simonson could not reliably conduct his

   surveys without them. His approach is akin to a mortgage lender conducting a nationwide survey

   about housing costs, excluding everyone from California, Texas, Florida, and Pennsylvania—

   four of the five most populous states—without assessing whether residents from the excluded

   states would have responded differently than those of the surveyed states, and then touting how it

   “only” missed residents from four states and sent the survey to millions of people in 46 states.

          Prof. Simonson’s methodology is unreliable, and Google fails to satisfy its burden to

   show otherwise by a preponderance of evidence. See Fed. R. Evid. 702; see also Merisant Co. v.

   McNeil Nutritionals, LLC, 242 F.R.D. 315, 319–20 (E.D. Pa. 2007) (“[T]he proponent of a




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   consumer survey has the burden of establishing that it was conducted in accordance with

   accepted principles of survey research,” including that “[a] proper universe must be examined

   and a representative sample must be chosen[.]”) (quoting Pittsburgh Press Club v. United States,

   579 F.2d 751, 758 (3d Cir. 1978)).6

          Google’s attempts to shift its the burden to Plaintiffs are legally unfounded, which is

   revealed by their citations of authority. This case is not remotely akin to the circumstances in

   Jackson v. E-Z-GO Division of Textron, Inc., 326 F. Supp. 3d 375 (W.D. Ky. 2018), or In re

   Johnson & Johnson Talcum Powder Prod. Mktg., Sales Pracs. & Prod. Litig., 509 F. Supp. 3d

   116 (D.N.J. 2020), where experts accounted for the effect of their exclusions, and the party

   challenging the survey did not put forth a reason why the expert’s methodology was unreliable.

   Cf. City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1048 (9th Cir. 2014) (district court

   erred “given that Dr. Sturchio refuted [defendant’s] assertion that the Guidance Manual protocols

   were not followed”). There is no analogy here where Prof. Simonson offers only speculation that

   his exclusions did not bias his results, and Plaintiffs’ survey rebuttal expert, Prof. Wayne Hoyer,

   describes exactly how Prof. Simonson’s sampling contravenes standards of survey methodology.

   See Exhibit O, Expert Rebuttal Report of Wayne D. Hoyer, Ph.D. (“Hoyer Rep.”) ¶¶ 65-70.

          Google’s improper burden-shifting is most evident in its analysis of Hi Ltd. Partnership

   v. Winghouse of Florida., Inc., 2004 U.S. Dist. LEXIS 30687 (M.D. Fla. Oct. 5, 2004), and FTC

   v. Fleetcor Technologies, Inc., 2022 WL 3350066 (N.D. Ga. Aug. 9, 2022). In Winghouse,

   whether men and women would have responded to the survey differently was unknowable and

   beside the point. What was clear is that the absence of women made the sample so incomplete as



   6
     Google finds no support in Precision Fabrics Grp., Inc. v. Tietex Int’l, Ltd., 367 F. Supp. 3d
   487, 506-07 (D.S.C. 2019) (declining, after jury trial, to exclude testimony of expert on flame
   retardants whose opinion bore on a disputed issue of fact rather than a question of reliability).

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   to be uninformative of the universe of the company’s customers because women “comprise

   nearly a third” of that universe. Winghouse, 2022 WL 3350066, at *25–26. Prof. Simonson made

   a similar error here by excluding advertisers and ad agencies that comprise about a third (or

   more) of the universe he was trying to study, and which Prof. Simonson acknowledges are more

   sophisticated than the parts of the universe he did study. See Ex. C, Hoyer Rep. ¶¶ 66-67.

          The same dynamic exists in FleetCor, 2022 WL 3350066, at *5–6, where the defendant’s

   expert omitted a large swath of customers who may have left FleetCor out of dissatisfaction with

   its practices. Opp. at 15-16. Again, why or how the excluded customers would have responded

   differently than those surveyed was unknowable, and the FTC did not need to demonstrate bias

   to exclude the survey. Rather, the survey omitted too much of the target population, making the

   sample “patently not representative of the population he stated he was surveying.” FleetCor,

   2022 WL 3350066, at *6 (cleaned up). Prof. Simonson’s failure is the same, resulting in “a

   deeply unrepresentative sample [that] is so fundamental as to be fatal to his results.” Id.

              2. Prof. Simonson’s Post-Survey Disclosures and Opt-Out Option Rendered the
                 Survey Results Unreliable
          Google fails to show why Prof. Simonson’s disclosures and opt-out option reflect reliable

   survey practices and rendered trustworthy results. As an initial matter, it is important to note that

   the survey respondents all work in an industry where Google, the dominant monopolist, wields

   vast power and influence over the companies that employ respondents. Against that backdrop,

   the choice to engage in post-survey disclosures and opt-out options requires explanation because

   one-quarter of respondents, for reasons not recorded, opted to have their data excluded from the

   survey results out after being told that Google was sponsoring the survey to aid its defense of an

   antitrust lawsuit. Prof. Simonson speculates that this practice had no impact on his survey results,

   but he failed to provide any evidence whatsoever to support this supposition. And Google



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   provides no explanation why these disclosures were even necessary, given that they deviate from

   standard industry practice. Thus, Google fails to satisfy its burden.

                        a. Prof. Simonson Failed to Follow Standard Practices for a Litigation
                           Survey
          Google’s disclosure and opt-out option did not “follow[] the cautionary procedure in the

   FJC Reference Guide”7 as Google claims. Opp. at 17. First, as he concedes, Prof. Simonson did

   not “follow” the FJC Reference Guide here; he followed the direction of Google’s lawyers. Ex.

   A, Simonson Rep. ¶ 34; Ex. B, Simonson Tr. at 289:13-290:6.

          Second, the “cautionary procedure” referenced by Google only considers narrow

   disclosure of the identity of the sponsor, not the survey’s purpose, including its use in litigation.

   Reference Guide at 411. The FJC Reference Guide is clear that the standard practice in litigation

   surveys is to keep the respondent blind to its sponsor and purpose whenever possible to ensure

   objectivity. Id. at 410-11; see Pittsburgh Press, 579 F.2d at 756–57, 759 (survey respondents

   should not be aware of the purpose of the survey or precise nature of the litigation). Conveying

   survey sponsorship and purpose increases the likelihood of biased results. FJC Reference Guide

   at 374 & n. 71. Therefore, the FJC Reference Guide instructs survey experts to conduct “an

   evaluation of the likely biases introduced by . . . awareness of the survey’s sponsorship”

   including “whether the sponsor has views and expectations that are apparent.” Id. at 411.

   Disclosure can bias results not only through the content of responses but also by skewing the

   sample through an opt-out option following disclosure. Cf. id. at 411. Yet Prof. Simonson did not

   evaluate the likely biases from disclosing the sponsor and purpose, despite his concession that

   the post-survey disclosures were “extensive.” Ex. M, Simonson Tr. at 160:76-7, 161:4-16.



   7
    The FJC Reference Guide is “intended to assist judges in identifying . . . issues bearing on the
   adequacy of surveys [] offered as evidence[.]” FJC Reference Guide at 362.


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          As evident from the materially high opt-out rate, Prof. Simonson’s disclosures impacted

   respondents’ decisions whether to submit their survey responses. That fact alone is inconsistent

   with reliable survey methodologies. See, e.g., United States v. S. Ind. Gas & Elec. Co., 258 F.

   Supp. 2d 884, 891, 894 & n.5 (S.D. Ind. 2003) (excluding survey in part because pre-survey

   cover letter’s disclosure of sponsor and litigation purpose left “little doubt” that it influenced

   those “[who] chose not to respond”); Pittsburgh Press, 579 F.2d at 759 (similar). The timing of

   the disclosures—post-survey as opposed to pre-survey—does not remedy the problem. As many

   as one in four respondents—who rely on Google to facilitate purchases of display advertising on

   the Internet, and advertising on Google’s search engine and YouTube—chose not to submit

   already-completed answers immediately after learning that Google controlled the survey for use

   in antitrust lawsuits against Google. It is natural to question whether these respondents opted out

   because they were concerned that their answers were not favorable to Google’s litigating

   position, and a mere assurance of anonymity may not have assuaged those concerns. See Ex. C,

   Hoyer Rep. ¶ 83; Ex. M, Simonson Tr. at 157:7-158:1 (expressing concern that learning about

   survey’s sponsor and purpose after a preliminary interview could seem “unfair to the

   respondent[s]” or make them feel “uncomfortable” despite an “assur[ance] of confidentiality”).

          Third, Prof. Simonson could not determine whether the disclosure and opt-out procedure

   affected his results. He has no data from the respondents who opted out and therefore could not

   compare their results to the opt-in respondents on which he based his conclusions. See Ex. B,

   Simonson Tr. at 298:8-299:16, 305:4-13. Prof. Simonson’s commitment not to include the opt-

   outs’ data cannot now be used as a reason for Google to argue that the results were reliable. The

   skewing of the sample is foundational, and the exclusion of the data does not cure that problem.

          Fourth, Prof. Simonson’s claim that “there is no reason to expect those who chose to not




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   be included in the sample to be different in any systematic way or in any way that pertains to the

   surveys’ conclusions from other respondents,” Ex. A, Simonson Rep. ¶ 81, is mere ipse dixit.

   The Rule 702 inquiry focuses not on the expert’s conclusions but rather on “the soundness and

   care with which the expert arrived at [his] opinion.” Schultz v. Akzo Nobel Paints, LLC, 721 F.3d

   426, 431 (7th Cir. 2013); see also Sardis v. Overhead Door Corp., 10 F.4th 268, 290 (4th Cir.

   2021) (quoting Fed. R. Evid. 702 advisory comm. Notes (2000)) (“The trial court’s gatekeeping

   function requires more than simply ‘taking the expert’s word for it.’”). Prof. Simonson never

   followed this procedure before, Ex. B, Simonson Tr. at 285:22-293:16, nor could he recall any

   other instance of any survey using such a procedure, Ex. B, Simonson Tr. at 289:13-19, and

   therefore he has no basis to conclude that the opt-out procedure had no effect.8 And Prof. Hoyer

   posits that respondents who exercised the opt-out option “had greater concerns about disclosing

   their responses when they learned that Google had sponsored the survey.” Ex. O, Hoyer Rep. ¶

   85. He also outlined a common way to avoid the problem. See Ex. N, Hoyer Tr. at 255:4-13.

                       b. Google Cannot Rely on the FTC’s Practice of Adhering to the
                          Privacy Act When Conducting a Survey of Consumers
          Google compares apples to oranges when it claims that disclosing the sponsor and


   8
     Prof. Simonson cites two articles in his report as support for his opinion that “some research
   has found that identifying the survey sponsor . . . has no meaningful effect on [] survey
   responses,” Ex. A, Simonson Rep. ¶ 81 & n. 86, but those articles acknowledge their limited
   applicability outside their specific context. See Exhibit P, Charles Crabtree, Holger L. Kern, and
   Matthew T. Pietryka (2022), “Sponsorship Effects in Online Surveys,” Political Behavior, Vol.
   44, pp. 265-266 (“Our experiments were designed to explore the possibility of bias induced by
   the logos of universities that vary in terms of religiosity, ideology, and prestige on our survey
   items measuring social conservatism, group affect, and political knowledge. … Scholars must
   also consider whether our results generalize to other subject pools.”); Exhibit Q, Del Hawkins
   (1979), “The Impact of Sponsor Identification and Direct Disclosure of Respondent Rights on
   the Quantity and Quality of Mail Survey Data,” Journal of Business, Vol. 52, No. 4, pp. 587
   (“The conclusions suggested by this study are limited to mail surveys, to well-known department
   store sponsors, to particular ways of identifying both sponsors and respondent rights, and to other
   conditions as well.”).



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   purpose of a litigation survey is proper because it is consistent with the FTC’s practice in the

   Intuit enforcement matter. Opp. at 7, 18. The survey in that case was conducted pursuant to the

   Privacy Act, 5 U.S.C. § 552a(e)(3), which legally requires surveyors to explain the survey’s

   purpose and to provide respondents an option to opt-out. Private parties like Google have no

   similar legal obligations, and the disclosures in Prof. Simonson’s surveys raised concerns that the

   FTC’s disclosure did not. Namely, the relationship between Google as a monopolist and its

   customers is very different from the relationship between the FTC and private citizens, as

   Google has an incentive to retaliate commercially against those customers who provide

   undesirable survey responses. See Ex. N, Hoyer Tr. at 264:17-265:2. By contrast, the FTC was

   surveying consumers that it had a mission and incentive to protect from harm.

              3. Google’s Counsel Introduced Fatal Flaws into Prof. Simonson’s Surveys
          While some attorney involvement in survey design may be necessary to ensure questions

   are relevant, FJC Reference Guide at 374, undue attorney involvement can undermine a survey’s

   reliability. See Yapp v. Union Pac. R.R. Co., 301 F. Supp. 2d 1030, 1037 (E.D. Mo. 2004)

   (condemning counsel’s involvement in survey design as “indicat[ing] a lack of independence and

   thus a lack of scientific validity”). This is particularly true when, as here, attorney involvement is

   the source of significant flaws in the survey. See, e.g., Johnson v. Big Lots Stores, Inc. 2008 WL

   1930681, at *16 (E.D. La. Apr. 29, 2008) (counsel chose unrepresentative sample); S. Ind. Gas

   & Elec., 258 F. Supp. 2d at 894 (counsel created bias); Pittsburgh Press, 579 F.2d at 759 (same).

          Contrary to Google’s contention, Johnson v. Big Lots Stores is instructive. There,

   directions from counsel artificially constrained the sample in a way that made it unrepresentative,

   2008 WL 1930681, at *17-20, and the expert “played no role in the selection of [] interview

   locations” or many of the interviewees. Id. at *13. The same occurred here when Google’s

   counsel instructed Prof. Simonson to exclude from his samples advertisers and ad agencies


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   making up a large portion of the ad spending in the target universe. Google does not dispute that,

   like in Big Lots, Prof. Simonson did not use independent judgment when selecting his samples,

   but it tries to distinguish Big Lots by pointing out that counsel there “hand-picked” a “miniscule

   subset” of survey respondents. Opp. at 19. That is no distinction, however, because the basic

   flaw is the same: an inappropriately narrow sample caused by undue influence from counsel.

          Google also tries to justify Prof. Simonson’s flawed samples based on attorney ethical

   obligations about communications with represented persons. Opp. at 1, 5, 19 (citing Rule 4.2,

   Va. R. Prof’l Conduct). But this is not a basis to allow Prof. Simonson to testify at trial about his

   unreliable survey results. Insofar as counsel’s ethical obligations required Prof. Simonson to

   have unrepresentative samples, the surveys are unreliable (and thus inadmissible) regardless. If

   Prof. Simonson could not have conducted his surveys without using unrepresentative samples,

   then he should not have conducted those surveys at all. See Ex. N, Hoyer Tr. 268:21-269:3.

          Rule 4.2 of the Virginia Rules of Professional Conduct does not disempower Google

   from taking steps to ensure the reliability of its expert’s survey. For example, Google could have

   sought consent of counsel to have the represented parties contacted by its survey company, or it

   could have requested relief from the Court. See Rule 4.2, Va. R. Prof’l Conduct. Alternatively,

   Prof. Simonson could have directed the survey company to avoid outreach to individuals who are

   members of the control group at firms on the No Contact List.9 Instead, Google chose to do

   nothing and now expects the Court to accept a fundamentally flawed proffer of expert testimony.



   9
     The Commentary to Rule 4.2 explains, “In the case of a represented organization, this Rule
   prohibits communications with a constituent of the organization who supervises, directs, or
   regularly consults with the organization’s lawyer concerning the matter or has authority to
   obligate the organization with respect to the matter or whose act or omission in connection with
   the matter may be imputed to the organization for purposes of civil or criminal liability.” See
   Rule 4.2, Va. R. Prof’l Conduct, Comment 7.


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           Google also cannot redeem these deficiencies by pointing to Prof. Simonson’s testimony

   that he would have refused to conduct his surveys, if he had believed that the exclusions from the

   No Contact List and opt-out procedure would undermine the reliability of his methods or

   results.10 Opp. at 19. Employing these procedures was counsel’s decision, not Prof. Simonson’s.

   See Ex. A, Simonson Rep. ¶ 34; Ex. B, Simonson Tr. at 289:13-290:15. He has no data from the

   excluded individuals to analyze the impact of their exclusion on his methodology. And because

   Prof. Simonson cannot recall a single comparable instance from his decades of conducting

   litigation surveys, he has no experiential basis to say that these measures are sound.

        B. Prof. Simonson’s Diversion Question Is Neither Relevant Nor Reliable

              1. Prof. Simonson’s Diversion Question Does Not Relate to the Tools Used to
                 Purchase Open Web Display Advertising.
           As Prof Simonson admitted, “it was not an objective of the survey” to understand how

   advertisers would respond to an increase in ad tech tool pricing (diversion), Ex. B, Simonson Tr.

   354:4-20, the central market definition question in this case. Google also concedes that Prof.

   Simonson’s Diversion Question11 asks about the wrong product, Opp. at 24 (admitting Prof.

   Simonson did not test cross-elasticity of demand for “the particular product at issue”), or that one

   of “[t]he key fact[s] for Plaintiffs’ market definition is whether an advertiser would change the

   tool used.” Id. at 21. By failing to ask about the very products at issue, Prof. Simonson’s analysis

   is unrelated to a “fact in issue” and should be excluded under Rule 702(a).

           Google defends the relevance of Prof. Simonson’s Diversion Question by arguing that it




   10
     Google cites “obligations” as its reason for including the sponsor and purpose disclosures with
   the opt-out option, Opp. at 19, but provides no further explanation. Nothing in Rule 4.2 suggests
   that these procedures are required.
   11
     Plaintiffs provide the full text of the Diversion Question and directly related questions in their
   opening brief. Opening Br. 7.

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   “go[es] to the question of substitution.” Id. at 20. However, it asks about the wrong type of

   substitution. Google makes a category error by asking survey participants about a significant

   price increase for one product (advertising) to then attempt to draw the contours of markets for

   different products (ad tech tools). A price increase on open-web display advertising generally is

   divorced from open-web display tools because such an increase would be larger than a price

   increase on the tools, which are a portion of the cost of open-web display advertising. See

   Opening Br. at 20. Google leaves unaddressed and unrebutted the fact that the Diversion

   Question is, by analogy, asking about the cost of solar panel production when the matter at issue

   is actually solar panel installation. See id. at 19-20.

           When survey evidence “shed[s] no light on” the “question that is key to” the claims at

   issue, it is not relevant, and it is error to allow a factfinder to rely on such evidence. Scotts Co. v.

   United Indus. Corp., 315 F.3d 264, 279-81 (4th Cir. 2002). Just as the “critical issue” in Scotts

   was whether consumers thought a product’s packaging conveyed that it could kill mature

   crabgrass (when it could not), id, the critical issue for market definition here is how customers

   would respond to a price increase on the ad tech tools at issue in Plaintiffs’ markets. In Scotts,

   the key issue was “whether [the defendant’s crabgrass-control product] packaging conveys the

   message that [it] kills mature crabgrass, a message that would be false.” Id. at 279. The Fourth

   Circuit found, however, that the survey “simply did not address that question” because the

   wording of the survey question made it impossible to reliably understand whether the consumers

   had evaluated the correct message. Id. at 278-81. There, the survey question at issue was: “Based

   on your review of this section of the bag, should this product prevent the growth of crabgrass that

   looks like the crabgrass pictured?” Id. at 279. The Scotts court found that the ambiguity of the

   word “prevent” made it impossible to tell “from this question whether the respondents who




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   answered yes believed that [the product] could prevent mature crabgrass by stopping it before it

   started [the true statement], or whether they believed that Vigoro could kill if applied to

   established, mature crabgrass [the false statement].” Id.

          The same ambiguity taints Prof. Simonson’s Diversion Question. It is impossible to tell

   whether respondents answered “yes” because they were responding to the “critical issue” (the

   price of ad tech tools) rather than some other, irrelevant issue (the overall increase in price of

   open web advertising with no differentiation between tool and non-tool related costs). Google

   contends the Diversion Question was close enough because it was related to open-web display

   advertising, and the tools are used to buy and sell such advertising, but Scotts teaches that a

   survey question either addresses the “critical issue” or it doesn’t; there is no “close enough.”12

          Google cites H&R Block, which supports Plaintiffs’ position, not Google’s. The diversion

   question in H&R Block asked about substitutes for the products at issue, unlike Prof Simonson’s

   survey, which asked about substitution for products not at issue. In H&R Block the parties

   disputed whether the product market was do-it-yourself (“DIY”) tax preparation products or all

   tax preparation products or services. United States v. H&R Block, Inc., 831 F. Supp. 2d 27, 33

   (D.D.C. 2011). The court admitted a survey asking about consumers’ use of “options [that]

   encompassed both competing Digital DIY tax preparation products as well as alternative

   services” because it “provides at least some indication of the products and services that compete




   12
     Plaintiffs are not arguing that Prof. Simonson was required to conduct a hypothetical
   monopolist test (“HMT”) or a SSNIP test, as Google claims. Opp. at 22-23. The Diversion
   Question is irrelevant because, according to Google, Prof. Simonson was trying to study
   “reasonable interchangeability of product and services,” including “cross-elasticity of demand,”
   Opp. at 23, but the Diversion Question did not study either issue for the “products and services”
   at issue in the case.

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   with” the defendant’s product at issue.13 Id. Google also cites to PepsiCo, Inc. v. Coca-Cola Co.,

   315 F.3d 101, 106 (2d Cir. 2002) (“PepsiCo II”), but that case involves a pre-litigation ordinary

   course business consumer survey,14 not an expert survey. PepsiCo, Inc. v. Coca-Cola Co., 114 F.

   Supp. 2d 243, 252 (S.D.N.Y. 2000) (“PepsiCo I”); PepsiCo II, 315 F.3d at 106. No party

   challenged the relevance, whether based on Rule 702 (which was inapplicable) or otherwise, of

   the ordinary course evidence. In any event, the survey question at issue specifically included the

   option of “independent food service delivery,” the method of distribution actually at issue,

   PepsiCo I, 114 F. Supp. 2d at 252, PepsiCo II, 315 F.3d at 106, not an overboard question about

   all methods of distribution or the all-in costs of distribution that considered, for example, the

   quality and cost of rubber hoses used to make soda in addition to independent distribution.

              2. Professor Simonson’s Diversion Question Produces Unreliable Results.

          Google proposes a novel standard for evaluating the reliability of a survey question,

   claiming that “any dispute about question wording goes to the weight, not admissibility, of the

   survey results.” Opp. at 25. Google is wrong. Not only is Scotts a prominent example in the

   Fourth Circuit of a dispute about survey wording going to admissibility, but none of Google’s

   cited cases stand for the proposition that any dispute as to survey wording goes purely to weight.

   E.&J. Gallo Winery v. Gallo Cattle Co., 967 F.2d 1280, 1292-93 (9th Cir. 1992) (asks about

   correct product); Tunnell v. Ford Motor Co., 330 F. Supp. 2d 707, 711 (W.D. Va. 2004)



   13
     In this context, Prof. Simonson’s Diversion Question would be analogous to asking about a
   “small but significant” increase in the overall cost of tax preparation, including accessing or
   purchasing the computer on which the software was installed, copying, mailing, other
   administrative costs, and any additional costs in addition to the cost of the TaxACT software.
   The survey question at issue asked specifically and exclusively about the “price, functionality or
   quality” of the TaxAct product and listed specific alternative products. Id. at 31.
   14
     PepsiCo II, Br. Of Appellee the Coca-Cola Co., 2001 WL 34113687 at *10, *13 (survey
   conducted in 1996); PepsiCo I, Complaint, 1998 WL 34311463 (S.D.N.Y. May 7, 1998).

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   (declining to adopt magistrate’s admission of survey expert testimony where the survey

   questions were worded “in a [biased] manner” and produced skewed results which could not be

   remedied on cross-examination); vonRosenberg v. Lawrence, 413 F. Supp. 3d 437, 458 (D.S.C.

   2019) (finding challenge to purportedly leading questions can go to weight, but not addressing

   questions so ambiguous as to be unreliable); Geiger v. Creative Impact Inc., 2020 WL 3268675,

   at *3 (D. Ariz. June 17, 2020) (denying challenge to “yes” or “no” response options, not the

   actual language of the questions); Bluetooth SIG, Inc. v. FCA US LLC, 468 F. Supp. 3d 1342,

   1346-47 (W.D. Wash. 2020) (asking about the correct mark, “BLUETOOTH,” at issue).

          Given Dr. Israel’s reliance, see Opening Br. at 8-9, the Diversion Question is crucial and

   ambiguous by design. Prof. Simonson, who could not recall ever previously asking a question

   using the term “small but significant,” see Ex. M, Simonson Tr. at 326:9-13, 328:3-329:1, and

   provides no evidence as to how respondents actually understood the question, see Ex. C, Hoyer

   Rep. ¶ 74(b) & n.137, nevertheless considers the term to be “balanced.” But as Prof. Hoyer

   demonstrated, this cursory, methodology-free approach elides serious flaws with the question’s

   wording. Respondents may have interpreted “small but significant” much in the same way that a

   patient would react to being told they needed to undergo a “routine, but serious” medical

   procedure. Rather than consider the diagnosis to be balanced, the patient may focus on the

   potential serious consequences of the procedure even if their doctor performs it routinely. Id. ¶

   74(b). Critically, Google does not dispute that respondents were left to speculate on the

   meanings of “small but significant” and for the “foreseeable future” in the Diversion Question,

   and that social science establishes that terms like this mean different things to different people.

   Opening Br. at 23 (citing Hoyer Rep. ¶ 74). Since Prof. Simonson failed to provide any

   evidence—through a pretest or the survey itself—that survey respondents understood the “small




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   but significant” term in the Diversion Question, his mere say-so cannot be credited.15

          Google grasps at straws in arguing that the Diversion Question is somehow reliable

   because Prof. Hoyer once asked a question from a dated academic survey (with no litigation

   purpose) that contained the term “quite a bit.” Opp. at 26. Prof. Hoyer also testified that the

   “quite a bit” question was pulled from a “standard set of questions” for measuring “willingness

   to pay,” a common dependent variable, in a study on airline brand loyalty; he did not suggest the

   question would have been “standard practice” more broadly, or in the more nuanced context here

   where Prof. Simonson attempts to measure responses to price sensitivities.16 Ex. N, Hoyer Tr. at

   331:12-332:21. More fundamentally, the survey was for academic purposes and was not subject

   to the rigors of Rule 702, which must be met for admission here.

          Google’s conclusory treatment of In re Motor Fuel Temperature Sales Practices

   Litigation affirms the similarity between Prof. Simonson’s Diversion Question and the “very

   ambiguous” question that was excluded there. 2012 WL 13050523 at *7 (D. Kan. Feb. 29, 2012).

   The Motor Fuel survey asked whether each gallon of fuel should contain “the same amount of

   fuel as every other gallon of that same fuel.” Id. at *3. The court found the results inadmissible

   because there was no way to know whether respondents read “amount of fuel” to mean energy or

   volume, and that “ambiguity goes to the heart of [the expert’s] conclusions.” Id. at *7. The same

   is true here. The results of the Diversion Question are inadmissible.



   15
     Prof. Simonson’s failure to retain any record of how participants responded to questions in his
   preliminary interview and survey pre-tests, Ex. M, Simonson Tr. at 121:8-122:3, 246:3-9, is also
   inconsistent with standard survey practices. See FJC Reference Guide at 394.
   16
      Hambrick ex rel. Hambrick v. Ken-Bar Mfg. Co., does not support Google. 422 F. Supp. 2d
   627, 638 (W.D. Va. 2002) (rejecting Daubert challenge to the plaintiff’s survey expert who
   testified that her negligible contact with the polling firm that conducted the survey was “standard
   practice in survey research”). Unlike in Hambrick, neither Prof. Hoyer nor anything else in the
   record here suggests that Prof. Simonson’s Diversion Question is “standard practice.”

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                                            CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

   motion.

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   Respectfully submitted,

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